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     1   UNITED STATES DISTRICT COURT
(        SOUTHERN DISTRICT OF NEW YORK
     2   ------------------------------x
     3   UNITED STATES OF AMERICA,

     4                v.                              19 Cr. 696 (PAE)

     5   ARI TEMAN,

     6                                                Conference
                           Defendant.
     7
         ------------------------------x
     8
                                                      New York, N.Y.
     9                                                January 10, 2020
                                                      10:45 a.m.
    10

    11   Before:

    12                         HON. PAUL A. ENGELMAYER,

    13
(   14
                                                      District Judge


    15                                  APPEARANCES

    16   GEOFFREY S. BERMAN
              United States Attorney for the
    17        Southern District of New York
         KEDAR SANJAH BHATIA
    18   EDWARD IMPERATORE
              Assistant United States Attorneys
    19
         JOSEPH ANDREW DiRUZZO III
    20   JUSTIN GELFAND
              Attorneys for Defendant
    21
         Also Present:     William Magliocco, Paralegal Specialist USAO
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     1               (In the robing room)
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     2               THE COURT:     All right.   Good morning, everyone.    I'm

     3   here in my robing room with counsel for both sides,

     4   specifically Mr. Imperatore and Mr. Bhatia.         Good morning to

     5   both of you.     Happy New Year.

     6               MR. IMPERATORE:     Good morning, your Honor.

     7               THE COURT:     For the defense, Mr. DiRuzzo?

     8               MR. DIRUZZO:     Yes.

     9               THE COURT:     And Mr. Gelfand?

    10               MR. GELFAND:     Good morning.

    11               THE COURT:     And the defendant, Mr. Teman, good

    12   morning.

    13               THE DEFENDANT:     Good morning, your Honor.
(   14               THE COURT:     The initial part of this conference, very

    15   briefly, will be maintained under seal.         I have a court

    16   reporter here, but the transcript of what is to be said in the

    17   robing room here is to be accessible to counsel in this case

    18   only.   The transcript itself is, not without permission of the

    19   Court, to be publicly filed.

    20               I want to follow up on a phone conference we had in

    21   December prompted by Mr. Teman's note to me that was in

    22   considerable distress.        I'm really just concerned about how

    23   Mr. Teman is doing.        Can counsel give me an update as to how

    24   he's doing.

    25               MR. DIRUZZO:     Your Honor, my understanding is

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     1   Mr. Teman is doing fine.       No further instances have happened,
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     2   nothing that required hospitalization or the like, so

     3              THE COURT:     Have you been personally keeping tabs on

     4   the state of whatever treatment he is receiving?

     5              MR. GELFAND:     Your Honor, this is Justin Gelfand for

     6   the record.    I have been speaking regularly with Mr. Teman, and

     7   it's my understanding that he's been under the care of multiple

     8   healthcare providers, including a mental health care provider,

     9   and a sleep specialist.       There was a diagnosis, as I understand

    10   it.   Maybe that's too strong of a word, but Mr. Teman has

    11   managed to get his sleep situation better under control, and he

    12   has expressed to me that he's noticed a considerable difference

    13   based on that and following that care.
(   14              So, as a practical matter,    I think that under the

    15   circumstances, obviously, the case is inevitably very

    16   stressful, but he's doing well under the circumstances and

    17   certainly much better than when we had our other telephone

    18   conference.

    19              THE COURT:     I'm glad to hear that.   I had remembered

    20   that it had been expressed on the call that sleep problems may

    21   have been at the heart of some of the anguish in the note.         I'm

    22   glad to hear that's being addressed.

    23              MR. GELFAND:     Yes, your Honor.

    24              THE COURT:     May I address your client.    I don't want

    25   to pry, but I want to make sure.


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     1              MR. GELFAND:      Sure.
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     2              THE COURT:     Mr. Teman, I want to take stock on how

     3   you're doing.

     4              THE DEFENDANT:     It's not the best si x months of my

     5   life, but I went to an ENT and then a sleep specialist.            The

     6   ENT said walk three miles a day, which is just looping around

     7   South Beach.     I did that, then I went to the sleep specialist.

     8   He said you're under federal indictment.        I'm going to give you

     9   this drug, and it's going to get you five hours of sleep.

    10   Still do the walking and swimming, but the drug is winning.              I

    11   wasn't getting REM sleep.       So I have a tracker.    I was getting

    12   5 to 6 percent REM.       I'm getting 20 to 25 percent REM now.

    13              THE COURT:     Here's the important thing.    The emotions
(   14   that you expressed in that letter, to the e x tent that they were

    15   an impulse to hurt yourself, have those gone away?

    16              THE DEFENDANT:     Yes.

    17              THE COURT:     You're confident that you are in a better

    18   place.     I realize being under indictment is not a good place,

    19   but your suicidal state of mind is all gone; you have no

    20   impulses like that at all?

    21              THE DEFENDANT:     No ne.

    22              THE COURT:     Will you promise me if you have any

    23   impulse at all like that, you'll immediately notify both your

    24   counsel in this case, the specialist or specialists whom you

    25   are seeing?

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     1              THE DEFENDANT:      Yes, your Honor.
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     2              THE COURT:     Very good.      Anything further I need to

     3   raise as to any of those things?

     4              MR. BHATIA:      Nothing from the government.

     5              THE COURT:     Most of all, I want to wish you well.        I

     6   realize I'm here in a role presiding over a prosecution of you.

     7   I'm also a human being, and I read a note from a person in

     8   anguish and pain.       And I empathize with you, and I just wanted

     9   you to know that.

    10              All right.     Look, the other thing I just want to put

    11   on the record is as follows, which is after the last court

    12   conference in the case, I made a phone call to the chief of the

    13   general crimes unit, the supervisor of the AUSA that's assigned
(   14   to the case, asking him to take a look at the transcript of the

    15   previous conferences and to make sure that there was adequate

    16   supervision of the case.        I do that from time to time when I

    17   have a concern that there may or may not be adequate

    18   supervision.     I didn't want that conversation to have been

    19   unrecorded.     I'm putting that on the record here.

    20              MR. GELFAND:      Thank you.

    21              THE COURT:     Very good.      I'll see you out in the

    22   courtroom.     Thank you.

    23              (Adjourned)

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